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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

James C Snow
                               Plaintiff,
v.                                                  Case No.: 1:17−cv−04015
                                                    Honorable John Robert Blakey
Ghaliah Obaisi, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 9, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Plaintiff's unopposed
motion for extension of time to complete discovery [139] is granted. Fact discovery shall
be completed on or before 12/20/2019. Motion hearing set for 8/13/2019 is stricken.
Status hearing set for 9/10/2019 is stricken and reset for 11/20/2019 at 9:45 a.m. in
Courtroom 1203. Tiffanie Limbrick and James Butcher's motions for leave to appear pro
hac vice [125] and [126] are granted. Mailed notice(gel, )




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